                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                   AT KNOXVILLE



 UNITED STATES OF AMERICA                     )
                                              )
 vs.                                          )    CASE NO. 3:10-CR-56-PLR-HBG
                                              )
 BRANDI IRENE RUSSELL                         )



                            MEMORANDUM AND ORDER

        This matter is before the Court on the defendant’s pro se motion for reduction in

 sentence pursuant to 18 U.S.C. § 3742(e), post-sentencing rehabilitation [Doc. 297]. In

 support of her motion, defendant states that she is currently incarcerated at the Bureau of

 Prisons facility in Tallahassee, Florida. During her incarceration, defendant has received

 26 certificates, totaling 1,970 hours of educational programs. Defendant’s expected

 release date is March 25, 2015.

        Defendant pled guilty to conspiracy to distribute and possess with intent to

 distribute fifty grams or more of crack cocaine.      She was sentenced to 78 months

 imprisonment, followed by five years of supervised release [R. 150].

        The Supreme Court has held district courts have discretion to consider post-

 sentence rehabilitation in fashioning a new sentence where the original sentence was set

 aside on appeal. United States v. Pepper, 131 S.Ct. 1229, 1241 (2011). Rehabilitative

 efforts on their own, however, do not authorize this court to revisit the propriety of a

 defendant’s sentence.     While the court commends defendant for her efforts at




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 rehabilitation, unfortunately, the court is without authority to reduce her sentence. See

 United States v. Clark, 2013 WL 841464 (E.D.Tenn. 2013). Accordingly, defendant’s

 pro se motion for a sentence reduction [R. 297] is DENIED.


       IT IS SO ORDERED.

                                          s/

                                          ____________________________________
                                          United States District Judge




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